                                                                     Case 22-18303-JKS           Doc 144-6 Filed 09/01/23 Entered 09/01/23 21:31:10                         Desc
                                                                                                   Certificate of Service Page 1 of 3
                                                                                                        United States Bankruptcy Court
                                                                                                     District of New Jersey, Newark Division

                                                            IN RE:                                                                                  Case No.
                                                            BAV AUTO, L.L.C.                                                                        Chapter 11
                                                                                                   Debtor(s)

                                                                                                               CERTIFICATE OF SERVICE


                                                              I hereby certify that on September 1, 2023, a copy of Application For Compensation of Steven D. Pertuz, LLC as Counsel
                                                            was served electronically or by regular United States mail to all interested parties, the Trustee and all creditors listed below.




                                                                                                                             Respectfully submitted,
                                                                                                                             BAV AUTO, L.L.C.



                                                                                                                             /s/ Steven D. Pertuz
Software Copyright (c) 2023 CINGroup - www.cincompass.com




                                                                                                                             Steven D. Pertuz 008542001
                                                                                                                             The Law Office of Steven D. Pertuz, LLC
                                                                                                                             111 Northfield Ave Ste 304
                                                                                                                             West Orange, NJ 07052-4703
                                                                                                                             (973) 669-8600 Fax: (973) 669-8700
                                                                                                                             pertuzlaw@verizon.net
                                                                      Case 22-18303-JKS             Doc 144-6 Filed 09/01/23 Entered 09/01/23 21:31:10               Desc
                                                                                                      Certificate of Service Page 2 of 3
                                                            BAV AUTO, L.L.C.                           131 Union Street LLC            Alexandre DeCosta
                                                            80 Columbia Ave                            131 Union St                    80 Columbia Ave
                                                            Kearny, NJ 07032-2948                      Newark, NJ 07105-1346           Kearny, NJ 07032-2948




                                                            American Express                           Arsenal Funding Corp.           Auction Credit Enterprises, LLC
                                                            PO Box 981535                              8 W 36th St Fl 7                14951 Dallas Pkwy Ste 200
                                                            El Paso, TX 79998-1535                     New York, NY 10018-9774         Dallas, TX 75254-6883




                                                            Automotive Finance Corp. of NJ             Capital One Bank                Chase Card
                                                            200 N Main St                              PO Box 30281                    PO Box 15298
                                                            Manville, NJ 08835-1357                    Salt Lake City, UT 84130-0281   Wilmington, DE 19850-5298




                                                            Cloudfund LLC                              Dealer Capital Group, Inc.      Donna M. Thompson, Esq.
                                                            400 Rella Blvd Ste 165-101                 67 Crystal St                   PO Box 679
                                                            Suffern, NY 10901-4241                     Avenel, NJ 07001-1125           Allenwood, NJ 08720-0679
Software Copyright (c) 2023 CINGroup - www.cincompass.com




                                                            Drew S. McGehrin, Esq.                     Ernesto Gonzalez                Fox Business Funding
                                                            Duane Morris, LLP                          361 S Broad St                  1920 E Hallandale Beach Blvd Ste 503
                                                            30 S 17th St                               Elizabeth, NJ 07202-3515        Hallandale Beach, FL 33009-4723
                                                            Philadelphia, PA 19103-4001




                                                            Internal Revenue Service                   Jaclyn Sage                     Jeremy M Dunn, Esq.
                                                            PO Box 21126                               Manager of Collections          Automotive Finance Corporation
                                                            Philadelphia, PA 19114-0326                10333 N Meridian St Ste 400     11299 N Illiniois St
                                                                                                       Indianapolis, IN 46290-1112     Carmel, IN 46032




                                                            Jersey Express, LLC                        Kinetic Advantage Inc.          Lever Auto Financing
                                                            23 Lake Dr                                 10333 N Meridian St             287 Park Ave S Ste 700
                                                            North Brunswick, NJ 08902-4828             Indianapolis, IN 46290-1150     New York, NY 10010-5413




                                                            Manheim NY Metro Skyline, Inc.             Mark Politan, Esq.              Nextgear Capital, Inc.
                                                            100 US Highway 46                          Politan Law, LLC                11799 N College Ave
                                                            Fairfield, NJ 07004-3217                   88 E Main St # 502              Carmel, IN 46032-5605
                                                                                                       Mendham, NJ 07945-1832




                                                            NJ Division of Motor Vehicles              NJ Division Of Taxation         Olympic Payroll Services
                                                            Business Licensing Services Bureau PO      PO Box 283                      64 US Highway 46
                                                            PO Box 170                                 Trenton, NJ 08646-0283          Pine Brook, NJ 07058-9629
                                                            Trenton, NJ 08666-0170




                                                            Peter J. D'Auria, Esq.                     Proventure Capital              River Capital Partners, LLC
                                                            Office Of The United States Trustee        99 Wall St # 576                1 River Rd Ste 200
                                                            1 Newark Ctr # 2100                        New York, NY 10005-4301         Cos Cob, CT 06807-2755
                                                            Newark, NJ 07102-5235
                                                                     Case 22-18303-JKS   Doc 144-6 Filed 09/01/23 Entered 09/01/23 21:31:10             Desc
                                                                                           Certificate of Service Page 3 of 3
                                                            Santander Bank                  Santander Collections              Shanna Kaminski, Esq.
                                                            Mail Code 10-421-CN2            450 Penn St                        Kaminski Law PLLC
                                                            PO Box 12646                    Reading, PA 19602-1011             160 W Fort St Fl 5
                                                            Reading, PA 19612-2646                                             Detroit, MI 48226-3700




                                                            Vivianne C. Antunes             Westlake Flooring Services, Inc.
                                                            80 Columbia Ave                 4751 Wilshire Blvd Ste 100
                                                            Kearny, NJ 07032-2948           Los Angeles, CA 90010-3847
Software Copyright (c) 2023 CINGroup - www.cincompass.com
